       Case 8:12-cr-00624-DKC      Document 355     Filed 11/08/16    Page 1 of 11



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                           :
SEAN CLARK SEKULAR
                                           :

       v.                                  :   Civil Action No. DKC 13-3458
                                               Criminal No. DKC 12-0624-002
                                           :
UNITED STATES OF AMERICA
                                           :

                                 MEMORANDUM OPINION

       Presently pending and ready for resolution in this case is

a motion filed by Petitioner Sean Clark Sekular (“Petitioner”)

to vacate, set aside, or correct his sentence pursuant to 28

U.S.C. § 2255 (ECF No. 251).1              The issues have been briefed, and

the court now rules, no hearing being deemed necessary.                          Local

Rule       105.6.    For   the    following    reasons,     the      motion   will   be

denied.

I.     Background

       On December 3, 2012, Petitioner was indicted for conspiracy

to distribute and possess with the intent to distribute 100

kilograms or more of marijuana, in violation of 21 U.S.C. § 846,

and conspiracy to commit money laundering, in violation of 18

U.S.C. § 1956(h).          (ECF No. 1).           On May 24, 2013, Petitioner

pled       guilty   to   the     charges   against     him.       (ECF    No.    139).

Pursuant to his signed plea agreement, Petitioner had a base

       1
       All citations to electronic court filings refer to the
docket in the criminal case.
       Case 8:12-cr-00624-DKC       Document 355        Filed 11/08/16    Page 2 of 11



offense level of 30 under the U.S. Sentencing Guidelines (the

“Guidelines”)         in   effect    at    the      time.     (Id.       at   4).      After

enhancements and reductions, Petitioner’s overall offense level

was decreased by three levels to level 27, which, combined with

his category I criminal history, provided a Guidelines range of

70-87 months imprisonment.                (Id. at 5; ECF No. 163, at 20).                  He

was sentenced to a term of 78 months imprisonment.2                                 (ECF No.

219).        Petitioner did not appeal.                 On November 26, 2013, he

timely filed the pending motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255.                       (ECF No. 251).            The

government opposed (ECF No. 261), and Petitioner filed a reply

(ECF       Nos.    301).     He   makes    a       single   claim    that     he    was    not

sentenced         pursuant   to     the    correct      guideline,        i.e.,      for    no

kilograms of marijuana.

II.    Motion to Vacate, Set Aside, or Correct Sentence

       A.         Standard of Review

       Section 2255 requires a petitioner asserting constitutional

error to prove by a preponderance of the evidence that “the

sentence was imposed in violation of the Constitution or laws of

the United States, or that the court was without jurisdiction to

impose such sentence, or that the sentence was in excess of the



       2
       Petitioner’s sentence was later reduced from 78 to 64
months after an unopposed motion for a reduction under 18 U.S.C.
§ 3582(c)(2) based on retroactive application of Amendment 782
to the Guidelines. (ECF No. 332).
                                               2
    Case 8:12-cr-00624-DKC         Document 355         Filed 11/08/16      Page 3 of 11



maximum authorized by law[.]”                   28 U.S.C. § 2255(a).                 If the

§ 2255 motion, along with the files and records of the case,

conclusively       shows    that    the     petitioner         is     not     entitled      to

relief, a hearing on the motion is unnecessary and the claims

raised     in   the    motion      may    be     summarily       denied.           See     id.

§ 2255(b).

     B.      Procedural Default

     As the government points out, Petitioner never brought the

claim he brings in this motion on a direct appeal.                            The ordinary

rule is that “an error can be attacked on collateral review only

if first challenged on direct review.”                      United States v. Harris,

183 F.3d 313, 317 (4th Cir. 1999); see also United States v.

Sanders,    247    F.3d    139,     144   (4th       Cir.    2001).         “In    order    to

collaterally attack a conviction or sentence based upon errors

that could have been but were not pursued on direct appeal, the

movant must show cause and actual prejudice resulting from the

errors of which he complains[.]”                     United States v. Mikalajunas,

186 F.3d 490, 492-93 (4th Cir. 1999).                       A showing of cause for a

procedural      default     “must    turn       on    something       external      to     the

defense,    such      as   the   novelty        of    the    claim    or     a    denial    of

effective assistance of counsel.”                      Id. at 493.           To establish

actual prejudice, the petitioner must show that the error worked

to his actual and substantial disadvantage, rather than merely




                                            3
       Case 8:12-cr-00624-DKC          Document 355        Filed 11/08/16    Page 4 of 11



creating a possibility of prejudice.                           Murray v. Carrier, 477

U.S. 478, 494 (1986).

       Petitioner       alleges        that     his       procedural       default      is    the

result     of    ineffective           assistance         of     counsel.          Claims      of

ineffective assistance of counsel are generally governed by the

well-settled standard adopted by the United States Supreme Court

in Strickland v. Washington, 466 U.S. 668 (1984).                              To prevail on

a   Strickland     claim,        the    petitioner         must    show     both      that    his

attorney’s      performance         fell       below      an    objective       standard       of

reasonableness        and    that       he    suffered         actual   prejudice.            See

Strickland, 466 U.S. at 688.                  There is a strong presumption that

counsel’s       conduct     falls       within       a    wide     range    of     reasonably

professional conduct, and courts must be highly deferential in

scrutinizing      counsel’s        performance.             Strickland,        466     U.S.    at

688–89; Bunch v. Thompson, 949 F.2d 1354, 1363 (4th Cir. 1991).

       Petitioner       asserts        that    his       counsel   refused       to    file    an

appeal of his original sentence.                     Refusal to file an appeal that

a   criminal      defendant        has        requested        constitutes       ineffective

assistance of counsel regardless of whether it would prejudice

the outcome of defendant’s case.                     U.S. v. Peak, 992 F.2d 39, 41-

42 (citing Rodriquez v. U.S., 395 U.S. 327, 329-330 (1969)); see

also     U.S.    v.     Wright,        538     Fed.App’x         237    (4th     Cir.        2013)

(“[C]ounsel’s failure to file a notice of appeal as directed

constitutes       per       se    ineffective             assistance.”)          (unpublished

                                                4
      Case 8:12-cr-00624-DKC      Document 355              Filed 11/08/16    Page 5 of 11



opinion).          Petitioner   admits,          however,        that       counsel   did    not

refuse outright, but, rather, “they convinced him it was an

impracticable exercise.”             (Id. at 5).             In short, counsel advised

against appeal and he accepted their advice.3                           See Roe v. Flores-

Ortega, 528 U.S. 470, 478 (2000) (“If counsel has consulted with

the defendant, the question of deficient performance is easily

answered:     Counsel       performs        in       a     professionally       unreasonable

manner      only    by     failing    to     follow          the      defendant's     express

instructions        with     respect        to        an     appeal.”).          Petitioner,

therefore,     cannot       justify     his          failure     to    appeal    by   way     of

ineffective assistance of counsel, and his claim that could have

been raised on appeal is procedurally defaulted.

       C.     Petitioner’s Base Offense Level

       Even   if     Petitioner       had    not         procedurally        defaulted,      his

claim here lacks merit.              Petitioner contends that the court made

an    error   in    establishing       his       base       offense     level    of   30     for

sentencing purposes.            (ECF No. 251, at 4).                        Specifically, he

says that the indictment and plea agreement indicated that he

was    charged      with    possession        with         intent      to    distribute      100

kilograms of marijuana, whereas the Guidelines establish a base

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       To the degree that Petitioner challenges the effectiveness
of this advice, counsel’s assistance falls well within the
standards described above.     After Petitioner had waived his
right to appeal his sentence unless his term of imprisonment
exceeded the range set forth for offense level 27 under the plea
agreement, it was certainly reasonably professional to advise
against an appeal. (ECF No. 139, at 7).
                                                 5
      Case 8:12-cr-00624-DKC     Document 355       Filed 11/08/16     Page 6 of 11



level of 30 for a drug quantity of 700-1,000 kilograms.                           (Id.;

ECF No. 251-1, at 4).              Under the Guidelines, he argues, he

should have started at a base level of 26, which covers drug

quantities of 100-400 kilograms of marijuana.                      (See ECF No. 251-

1, at 3).

       Taking Petitioner’s argument at face value, he seems to

have confused the quantity identified in the name of crime to

which he pled guilty with the drug quantities actually involved

in    his   conspiracy.        Although   the       offense      for   which    he    was

convicted was “conspiracy to distribute and possess with intent

to    distribute     100   kilograms          or    more    of     marijuana,”        the

government’s      case   against    him       was   not    based     on   exactly     100

kilograms.     Rather, “100 kilograms or more” meant significantly

more in this case.         Inclusion of the quantity 100 kilograms in

the name of the offense could cause confusion in some cases, but

it was quite clear in this case that drug quantities of 700-

1,000 kilograms were the basis of his sentence.

       In fact, it is hard to square Petitioner’s actions during

the    criminal    proceedings     with       his   present      argument      that    he

“truly believed his base offense level was originating at 26.”

(ECF No. 301, at 7).           First, Petitioner’s signed plea agreement

explicitly stated, “The base level is 30, because the quantity

of marijuana attributable to the Defendant was more than 700

kilograms but less than 1,000 kilograms.”                   (ECF No. 139, at 4).

                                          6
       Case 8:12-cr-00624-DKC          Document 355   Filed 11/08/16   Page 7 of 11



Second, a statement of stipulated facts presented to the court

at the Rule 11 hearing similarly stated that, over the course of

the drug conspiracy in which he participated, he “conspired to

distribute and possess with intent to distribute 700 kilograms

or more but less than 1,000 kilograms or marijuana.”                        (ECF Nos.

139-1, at 2; 163, at 6).                    In addition to signing the plea

agreement, Petitioner separately signed this statement of facts,

which was less than three pages long.                       (ECF No. 139-1, at 3).4

At his Rule 11 hearing, Petitioner and his lawyer affirmed that

they       had   reviewed       this   information     together.       Hearing    Audio

Recording at 2:47:15-2:48:08 PM, USA v Mancilla-Brevichet, No.

12-cr-00624-DKC-2 (hereinafter “Rule 11 Recording”).

       More importantly, that statement of facts was read aloud at

the Rule 11 hearing, Rule 11 Recording at 2:29:31-2:35:47 PM,

and Petitioner admitted that these facts were true, Rule 11

Recording           at      2:37:08-39       PM.            “Absent    extraordinary

circumstances, the truth of sworn statements made during a Rule

11 colloquy is conclusively established, and a district court

should, without holding an evidentiary hearing, dismiss any §

2255       motion        that    necessarily       relies    on   allegations         that

contradict the sworn statements.”                     United States v. Lemaster,

403 F.3d 216, 221–22 (4th Cir. 2005); Fields v. Attorney Gen. of


       4
       Petitioner’s counsel also signed both the plea and the
statement of facts.
                                              7
       Case 8:12-cr-00624-DKC       Document 355        Filed 11/08/16     Page 8 of 11



Md.,    956 F.2d 1290, 1299 (4th                 Cir. 1992) (“Absent clear and

convincing evidence to the contrary, a defendant is bound by the

representations he makes under oath during a plea colloquy”).

Petitioner      now    argues       that    he    had     not    been     aware    of      the

stipulated facts until just before the hearing and that the

government added the 700-1,000 kilogram range for the first time

in   that    statement       of    facts.        As    noted,     the    same     range     is

mentioned on page four of the plea agreement itself, but even if

Petitioner had not noticed that important range prior to the

hearing, the record demonstrates that he clearly understood what

he was admitting before the court.                    When asked whether the facts

were    true,      Petitioner,      apparently        paying     close      attention       to

their     reading,     corrected       a     mistake       that     the      government’s

attorney made while reading the statement.                       Rule 11 Recording at

2:35:47-2:37:08       PM.         Because   that      attorney     accidentally           said

that the crime was conspiracy to distribute and possession with

intent to distribute “1,000 kilograms or more” instead of “100

kilograms or more” when reading page one, Petitioner consulted

with his lawyer and had the error corrected before admitting to

the facts as read.           Rule 11 Recording at 2:35:47-2:37:08 PM. The

government      and    the    court    confirmed         for    Petitioner        that     the

charge was for 100 kilograms or more.                           Rule 11 Recording at

2:30:00-2:30:22 PM.               To dispel any confusion that might have

arisen      from    the      admission      on     page     one,     the     court        then

                                             8
    Case 8:12-cr-00624-DKC         Document 355        Filed 11/08/16     Page 9 of 11



specifically pointed out that the more important concession was

the drug quantity of 700-1,000 kilograms on page two.                              Rule 11

Recording    at    2:37:08-39       PM.          Having      clarified     that    he     was

admitting    to    what      was   written        in   the    statement,        Petitioner

agreed that the facts were true and that he wanted to plead

guilty to the charges.             (Id.).        The same statement of facts was

included in the presentencing report (ECF No. 163, at 6), which

Petitioner’s       counsel     confirmed          at    sentencing        that     he     had

reviewed    with     Petitioner      (ECF    No.       255,   at    3),   and     both    the

government     and     the     court      also     referenced         these      facts     at

sentencing (ECF No. 255, at 12, 17, 26).                        Petitioner, however,

did not challenge the drug quantities range until the present

motion.

     In short, the record shows quite clearly that Petitioner

was aware of the charges and drug quantities for which he was

indicted,    of    the    evidence     the       government        purported      it    could

prove, of the terms of the plea agreement, and of the sentencing

range that attached to it.             His sentence, based on this record,

was reasonable and authorized by law.                     Petitioner therefore has

not shown that his sentence warrants correction.

III. Certificate of Appealability

     Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. § 2255, the court is also required to issue or

deny a certificate of appealability when it enters a final order

                                             9
   Case 8:12-cr-00624-DKC      Document 355         Filed 11/08/16    Page 10 of 11



adverse to the applicant.            A certificate of appealability is a

“jurisdictional     prerequisite”       to    an     appeal     from    the   court’s

earlier order.      United States v. Hadden, 475 F.3d 652, 659 (4th

Cir. 2007).       A certificate of appealability may issue “only if

the applicant has made a substantial showing of the denial of a

constitutional right.”         28 U.S.C. § 2253(c)(2).               Where the court

denies petitioner’s motion on its merits, a petitioner satisfies

this   standard    by   demonstrating        that     reasonable      jurists    would

find the court’s assessment of the claim debatable or wrong.

Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El

v. Cockrell, 537 U.S. 322, 336–38 (2003).                      When the district

court denies relief on procedural grounds, the prisoner must

demonstrate   both      that   the    dispositive         procedural       ruling     is

debatable, and that the petition states a debatable claim of the

denial of a constitutional right.             Slack, 529 U.S. at 484-85.

       Upon review of the record, the court finds that Petitioner

does not satisfy the above standards.                    Accordingly, the court

will decline to issue a certificate of appealability on the

issues which have been resolved against Petitioner.




                                       10
      Case 8:12-cr-00624-DKC   Document 355    Filed 11/08/16   Page 11 of 11




IV.    Conclusion

       For the foregoing reasons, Petitioner Sean Clark Sekular’s

motion to vacate, set aside, or correct his sentence pursuant to

28 U.S.C. § 2255 will be denied.           A separate order will follow.



                                              /s/
                                    DEBORAH K. CHASANOW
                                    United States District Judge




                                      11
